     Case 2:15-cr-00125-DJC-CKD Document 149 Filed 10/05/18 Page 1 of 4


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4                               UNITED STATES DISTRICT COURT

5                             EASTERN DISTRICT OF CALIFORNIA

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7    UNITED STATES OF AMERICA,                       No.      2:15-cr-00125-GEB
8                      Plaintiff,
                                                     AMENDED ORDER FINDING DEFENDANT
9          v.                                        LACKS AUTHORITY TO APPEAL AND TO
                                                     MAKE ARGUMENTS, AND DISREGARDING
10   BENJAMIN MACIAS,                                DEFENDANT’S APPELLATE FILING
11                     Defendant.
12

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14                The Clerk of the Court (“Clerk”) provided chambers with

15   a   preprinted      form      “Routing      Slip”     titled       “Requesting         Chambers

16   Review,” to which the Clerk attached Defendant Benjamin Macias’s

17   “Notice of Interlocutory Appeal” (“Notice”) stamped “FILED” on

18   September 27, 2018.            Mr. Macias asserts in the filing that he is

19   proceeding     pro      se.     The     Clerk      sends    chambers          the   referenced

20   Routing     Slip   when       the   Clerk    is     uncertain          about    how    chambers

21   elects to handle certain documents.                       The Clerk asks chambers in

22   the Routing Slip: “Please return [the Routing Slip and whatever

23   document is attached thereto] to Operations with instructions;”

24   and   the   following         options    are       provided       on    the    Routing     Slip:

25   “Please     add    to    docket,”       “Please          Return        to   Sender,”      and/or

26   “Other.”      Notwithstanding            that      the    Clerk        stamped      the   Notice

27   “FILED” when the Clerk received it, the judge determines whether

28   the Notice is filed on the court’s filing system.
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     Case 2:15-cr-00125-DJC-CKD Document 149 Filed 10/05/18 Page 2 of 4


1                  Mr. Macias’s position that he can proceed pro se with

2    the Notice appears to be the result of the judge’s mistaken

3    communication to Mr. Macias during an in camera proceeding when

4    enduring Mr. Macias’s stubborn refusal to discontinue talking

5    about certain defenses he insisted on asserting in this criminal

6    action.     The judge eventually responded to Mr. Macias’s dogged

7    determination to assert the referenced defenses by telling him

8    his oral motions are part of the record, the motions are denied,

9    and Mr. Macias could appeal that adverse ruling.                          United States

10   v. Seugasala, 670 F. App’x 641, 641 (9th Cir. 2016) (“District

11   courts have inherent discretionary power” to determine whether

12   what was previously secret should be disclosed on the public

13   record.).       Mr. Macias also referenced the motions during a public

14   hearing.        It was evident that Mr. Macias was unsuccessful in

15   persuading his appointed lawyer to file the referenced motions.

16   Typically,      the    decision       whether      to    file   motions    is    made    by

17   appointed counsel.            United States v. Wadsworth, 830 F.2d 1500,

18   1509 (9th Cir. 1987) (stating “[i]t is . . . clear that appointed

19   counsel, and not his client, is in charge of the choice of trial

20   tactics and the theory of defense”);                     United States v. Smith, 282
21   F.3d   758,     763    (9th    Cir.       2002)    (stating     “Smith's    own    letter

22   indicates       that   [his]       dispute       [with    counsel]   stemmed      from    a

23   disagreement about ‘strategic purposes’ and [that] [l]itigation

24   tactics are decisions generally left to defense counsel”).

25                 Of course, Mr. Macias is not to blame for the judge’s

26   failure    to    explain      to    him    the    respective     roles    of    appointed
27   counsel and client in this criminal case.                         The Supreme Court

28   recently clarified these decision-making roles in the context of
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     Case 2:15-cr-00125-DJC-CKD Document 149 Filed 10/05/18 Page 3 of 4


1    deciding who determines whether to admit guilt, explaining:

2                Trial management is the lawyer’s province:
                 Counsel provides his or her assistance by
3                making decisions such as “what arguments to
                 pursue, what evidentiary objections to raise,
4                and what agreements to conclude regarding the
                 admission of evidence.”      Some decisions,
5                however, are reserved for the client—notably,
                 whether to plead guilty, waive the right to a
6                jury trial, testify in one's own behalf, and
                 forgo an appeal.
7

8    138 S. Ct. 1500, 1508 (2018) (emphasis added) (citation omitted)

9    (quoting Gonzalez v. United States, 553 U.S. 242, 248 (2008));

10   see generally Jones v. Barnes, 463 U.S. 745, 751 (1983) (“[An]

11   indigent   defendant     [does     not    have]   a   constitutional        right   to

12   compel appointed counsel to press nonfrivolous points requested

13   by the client, if counsel, as a matter of professional judgment,

14   decides not to present those points.”).

15               The      subject       judicial        mistake        authorized         an

16   inappropriate       hybrid     representation         during      an   in     camera

17   proceeding.       “A district judge may allow ‘hybrid representation,’

18   in which the accused assumes some of the lawyer’s functions,

19   under certain circumstances.             If the defendant assumes any of the

20   ‘core functions’ of the lawyer, however, the hybrid scheme is
21   acceptable only if the defendant has voluntarily waived counsel.

22   Here, there was no waiver . . . [Yet Mr. Macias] formulated and

23   presented . . . [certain] defense[s] himself.”                 United States v.

24   Turnbull, 888 F.2d 636, 638 (9th Cir. 1989) (citations omitted).

25   Since the Notice contains core functions of a lawyer, and Mr.

26   Macias has not been authorized to represent himself concerning
27   those functions, he is not authorized to file the Notice.

28               To    proceed    pro   se,     Mr.    Macias   must    knowingly        and
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     Case 2:15-cr-00125-DJC-CKD Document 149 Filed 10/05/18 Page 4 of 4


1    intelligently waive his Sixth Amendment right to counsel, which

2    includes Mr. Macias convincing the judge that he sufficiently

3    understands the risks of self-representation, and nevertheless

4    elects to proceed pro se.       United States v. Kimmel, 672 F.2d 720,

5    722 (9th Cir. 1982) (stating the record must show that defendant

6    knowingly and intelligently waived his Sixth Amendment to counsel

7    before defendant could be allowed to proceed pro se); see also

8    Turnbull,   888   F.2d   at   638    (“Our   recognition   of   the   powerful

9    advantage of competent counsel mandates extreme care in allowing

10   pro se representation.        A waiver of the right to counsel must be

11   knowing and voluntary.”).           Mr. Macias has not waived his Sixth

12   Amendment right to counsel.

13               Nevertheless,     Mr.    Macias’s   Notice     of   Interlocutory

14   Appeal is filed on the public docket as ECF No. 148 since the

15   judge erroneously told Mr. Macias that the issues are preserved

16   for appeal.       However, this filing is disregarded because Mr.

17   Macias has not been authorized to represent himself.

18               Dated:   October 5, 2018

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